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Fill in this information to identify your case: 

United States Bankruptcy Court for the:

Western District of Texas

Case number (If known):                                    Chapter    11
                                                                                                                                    Check if this is an
                                                                                                                                     amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                      06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.    Debtor’s name                             Whitestone Brewery, LLC


2.    All other names debtor used in the
                                                dba Whitestone Brewery
      last 8 years
      Include any assumed names, trade
      names, and doing business as names




3.    Debtor’s federal Employer
      Identification Number (EIN)               XX-XXXXXXX


4.    Debtor’s address                          Principal place of business                          Mailing address, if different from principal
                                                                                                     place of business

                                                601 E. Whitestone Blvd
                                                Suite 500
                                                Number      Street                                   Number        Street


                                                Cedar Park                 TX    78613
                                                City                       State Zip Code            City                   State Zip Code

                                                                                                     Location of principal assets, if different
                                                                                                     from principal place of business

                                                WILLIAMSON
                                                County                                               Number                 Street



                                                                                                     City                   State Zip Code



5.    Debtor’s website (URL)                    http://www.whitestonebrewery.com




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Debtor       Whitestone Brewery, LLC                                                     Case number (if known)
             Name


6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                               Partnership (excluding LLP)

                                               Other. Specify:


7.   Describe debtor’s business:           A. Check one:
                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                               Railroad (as defined in 11 U.S.C. § 101(44))

                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                               Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                               None of the above


                                           B. Check all that apply:
                                               Tax-exempt entity (as described in 26 U.S.C. § 501)

                                               Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §
                                                80a-3)
                                               Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                3121




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 2 of 5
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Debtor        Whitestone Brewery, LLC                                                             Case number (if known)
              Name


8.    Under which chapter of the                 Check one:
      Bankruptcy Code is the debtor
                                                     Chapter 7
      filing?
                                                     Chapter 9
                                                     Chapter 11. Check all that apply:
      A debtor who is a “small business                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      debtor” must check the first sub-box.                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      A debtor as defined in § 1182(1) who                               affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      elects to proceed under subchapter V                               recent balance sheet, statement of operations, cash-flow statement, and federal
      of chapter 11 (whether or not the                                  income tax return or if any of these documents do not exist, follow the procedure in
      debtor is a “small business debtor”)                               11 U.S.C. § 1116(1)(B).
      must check the second sub-box.
                                                                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                         noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                         less than $7,500,000, and it chooses to proceed under Subchapter V of Chapter
                                                                         11. If this sub-box is selected, attach the most recent balance sheet, statement of
                                                                         operations, cash-flow statement, and federal income tax return, or if any of these
                                                                         documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                        A plan is being filed with this petition.

                                                                        Acceptances of the plan were solicited prepetition from one or more classes of
                                                                         creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                        The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                         Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                         Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                         Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                        The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                                         Rule 12b-2.
                                                     Chapter 12


9.    Were prior bankruptcy cases filed              No
      by or against the debtor within the
      last 8 years?                                  Yes. District                                   When                     Case number
      If more than 2 cases, attach a                                                                           MM/DD/YYYY
      separate list.                                          District                                When                     Case number
                                                                                                               MM/DD/YYYY



10.   Are any bankruptcy cases pending               No
      or being filed by a business partner
      or an affiliate of the debtor?                 Yes. Debtor                                                    Relationship

      List all cases. If more than 1, attach a                District                                               When
      separate list.                                                                                                                MM/DD/YYYY


                                                              Case number, if known


11.   Why is the case filed in this              Check all that apply:
      district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                                      days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                                      any other district.
                                                     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this
                                                      district.




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3 of 5
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Debtor       Whitestone Brewery, LLC                                                         Case number (if known)
             Name


12.   Does the debtor own or have             No
      possession of any real property or
      personal property that needs             Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      immediate attention?                             Why does the property need immediate attention? (Check all that apply.)

                                                          It poses or is alleged to pose a threat of imminent and identifiable hazard to public health
                                                           or safety.
                                                           What is the hazard?
                                                          It needs to be physically secured or protected from the weather.

                                                          It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                           attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                           related assets or other options).
                                                          Other     Brewery Tap Room/Facility with work in progress and finished
                                                                     goods.


                                                       Where is the property?         601 E. Whitestone Blvd, Suite 500
                                                                                      Number                     Street


                                                                                      Cedar Park                          TX            78613
                                                                                      City                                State         ZIP Code


                                                       Is the property insured?
                                                          No
                                                          Yes. Insurance agency         BSBD Insurance

                                                                   Contact name          AI 0063

                                                                   Phone                 (972) 767-2811



            Statistical and administrative information

13.   Debtor’s estimation of available     Check one:
      funds
                                               Funds will be available for distribution to unsecured creditors.

                                               After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                                creditors.


14.   Estimated number of creditors            1-49                                   1,000-5,000                              25,001-50,000
                                               50-99                                  5,001-10,000                             50,001-100,000
                                               100-199                                10,001-25,000                            More than 100,000
                                               200-999


15.   Estimated assets                         $0-$50,000                             $1,000,001-$10 million                   $500,000,001-$1 billion
                                               $50,001-$100,000                       $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                               $100,001-$500,000                      $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                               $500,001-$1 million                    $100,000,001-$500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4 of 5
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Debtor        Whitestone Brewery, LLC                                                              Case number (if known)
              Name


16.   Estimated liabilities                         $0-$50,000                               $1,000,001-$10 million              $500,000,001-$1 billion
                                                    $50,001-$100,000                         $10,000,001-$50 million             $1,000,000,001-$10 billion
                                                    $100,001-$500,000                        $50,000,001-$100 million            $10,000,000,001-$50 billion
                                                    $500,001-$1 million                      $100,000,001-$500 million           More than $50 billion




            Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                   The debtor requests relief in accordance with the chapter of title 11, United States Code, specified
      authorized representative of debtor            in this petition.
                                                     I have been authorized to file this petition on behalf of the debtor.
                                                     I have examined the information in this petition and have a reasonable belief that the information is
                                                     true and correct.


                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                     Executed on       05/05/2023
                                                                       MM / DD / YYYY

                                                     /s/ Ryan Anglen                                          Ryan Anglen
                                                    Signature of authorized representative of debtor         Printed name


                                                     Title    Owner


18.   Signature of attorney                          /s/ Charlie Shelton                                      Date          05/05/2023
                                                    Signature of attorney for debtor                                   MM / DD / YYYY



                                                     Charlie Shelton
                                                     Printed name

                                                     Hayward PLLC
                                                     Firm name

                                                     7600 Burnet Road, Suite 530
                                                     Number            Street

                                                     Austin                                                     TX               78757
                                                     City                                                       State            ZIP Code


                                                     (737) 881-7100                                             cshelton@haywardfirm.com
                                                     Contact Phone                                              Email address


                                                       24079317
                                                                                                                Texas
                                                     Bar number                                                 State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 5 of 5
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    Fill in this information to identify your case: 

    Debtor Name      Whitestone Brewery, LLC

    United States Bankruptcy Court for the: Western District of Texas                                                                 Check if this is an
                                                                                                                                       amended filing
    Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                12/15
    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured
    creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured
    claims.



Name of creditor and complete              Name, telephone          Nature of the claim   Indicate if     Amount of unsecured claim
mailing address, including zip code        number, and email        (for example, trade   claim is
                                           address of creditor      debts, bank loans,    contingent,     If the claim is fully unsecured, fill in only unsecured
                                           contact                  professional          unliquidated,   claim amount. If claim is partially secured, fill in total
                                                                    services, and         or disputed     claim amount and deduction for value of collateral or
                                                                    government                            setoff to calculate unsecured claim.
                                                                    contracts)


                                                                                                          Total claim, if     Deduction for        Unsecured
                                                                                                          partially           value of             claim
                                                                                                          secured             collateral or
                                                                                                                              setoff

1    Cedar Park Railyard Inc.                                                                                                                        $111,622.26
     c/o David Johnson
     601 E. Whitestone Blvd.,
     Suite 246
     Cedar Park, TX 78613

2    David Starnes                                                  Personal Loan                                                                      $80,000.00
     710 Brookside Pass                                             to Whitestone
     Cedar Park, TX 78613-4228                                      Brewery, LLC


3    LOP Restoration                                                                                                                                   $79,172.66
     c/o Paul Davidson
     P.O. Box 47
     Liberty Hill, TX 78642

4    Crosby Hops                                                                                                                                       $40,254.68
     Pacific Northwest
     Headquarters
     18564n Arbor Grove Rd NE
     Woodburn, OR 97071

5    Scott Herbowy                                                  Private loan for                                                                   $37,000.00
     2519 S Lakeline Blvd., Suite                                   construction
     100                                                            expenses in
     Cedar Park, TX 78613                                           Liberty Hill
                                                                    expansion.




    Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                           page 1 of 3
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     Debtor        Whitestone Brewery, LLC                                  Case number (if known)
                   Name




6     Saxco International                                                                                                     $29,641.14
      5260 Anna Ave
      San Diego, CA 92110


7     Chad Viggers                                              Private loan for                                              $20,771.00
      2344 Broken Wagon Drive                                   Working Capital
      Leander, TX 78641


8     Texas Comptroller of Public                               Sales Tax Owed                                                $19,383.73
      Accounts
      Revenue Accounting Division
      - Bankruptcy Section
      P.O. Box 13528 Capitol
      Station
      Austin, TX 78711

9     Trey Elling                                               Private loan                                                  $15,000.00
      1502 Merganser Ln                                         used for Liberty
      Cedar Park, TX 78613                                      Hill construction


10    Modular AV                                                                                                              $14,544.68
      3550 N. Lakeline Blvd., Ste.
      170-1212
      Leander, TX 78641

11    Bluestem Integrated                                                                                                     $12,053.27
      5301 S 125th E Ave
      Tulsa, OK 74146


12    Dalton Steam & Controls                                                                                                  $7,663.36
      19141 Stone Oak Parkway
      104-4
      San Antonio, TX 78258

13    Hopsteiner                                                                                                               $5,190.11
      1 West Washington Avenue
      Yakima, WA 98903


14    Cap City Rentals                                                                                                         $4,675.00
      2031 County Road 105
      Hutto, TX 78634


15    Texas Brand Ambassadors                                                                                                  $2,195.05
      121 Snapper
      Austin, TX 78734




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims   page 2 of 3
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     Debtor        Whitestone Brewery, LLC                                  Case number (if known)
                   Name




16    BMI (Broadcast Music Inc.)                                                                                               $2,000.00
      c/o Corporation Service
      Company CSC - Lawyers
      Incorporating Service
      Company
      211 E 7th Street, Suite 620
      Austin, TX 78701-3218

17    ASCAP (American Society of                                                                                               $1,490.62
      Composers, Authors, and
      Publishers)
      250 West 57th Street
      New York, NY 10107




     Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims   page 3 of 3
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                                                United States Bankruptcy Court
                                                      Western District of Texas
In re   Whitestone Brewery, LLC                                        Case No.
                                                  Debtor(s)            Chapter      11




                               VERIFICATION OF CREDITOR MATRIX

The above-named Debtor(s) hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date:       05/05/2023                                                     /s/ Ryan Anglen
                                                                           Ryan Anglen
                                                                           Signature of Debtor




                                                              Creditor Matrix                                         page 1 of 7
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                                                15390 HWY 29, LLC
                                                15390 HWY 29, Suite 201-203
                                                Liberty Hill, TX 78642



                                                Amsterdam Capital
                                                135 East 57th Street,
                                                Floor 7, Suite 110
                                                New York, NY 10022



                                                ASCAP (American Society of Composers, Authors, and Publishers)
                                                250 West 57th Street
                                                New York, NY 10107



                                                Bluestem Integrated
                                                5301 S 125th E Ave
                                                Tulsa, OK 74146



                                                Bluevine Financial
                                                401 Warren Street
                                                Redwood City, CA 94063



                                                BMI (Broadcast Music Inc.)
                                                c/o Corporation Service Company CSC - Lawyers Incorporating Service
                                                Company
                                                211 E 7th Street, Suite 620
                                                Austin, TX 78701-3218



                                                C T Corporation System, as Representative
                                                Attn: SPRS
                                                330 N Brand Blvd, Suite 700
                                                Glendale, CA 91203



                                                Cap City Rentals
                                                2031 County Road 105
                                                Hutto, TX 78634




                                                             Creditor Matrix                                   page 2 of 7
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                                                Cedar Park Railyard Inc.
                                                c/o David Johnson
                                                601 E. Whitestone Blvd., Suite 246
                                                Cedar Park, TX 78613



                                                Cedar Park Railyard, Inc.
                                                601 E. Whitestone Blvd.
                                                Cedar Park, TX 76813



                                                Chad Viggers
                                                2344 Broken Wagon Drive
                                                Leander, TX 78641



                                                Colleen Militello
                                                1913 Leaders Ln
                                                Leander, TX 78641



                                                Container Logic SRP LLC
                                                950 Dorman St
                                                Indianapolis, IN 46202



                                                Crosby Hops
                                                Pacific Northwest Headquarters
                                                18564n Arbor Grove Rd NE
                                                Woodburn, OR 97071



                                                Dalton Steam & Controls
                                                19141 Stone Oak Parkway 104-4
                                                San Antonio, TX 78258



                                                Danielle Anglen
                                                2508 Thunder Horse
                                                Leander, TX 78641




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                                                David Militello
                                                1913 Leaders Ln
                                                Leander, TX 78641



                                                David Starnes
                                                710 Brookside Pass
                                                Cedar Park, TX 78613-4228



                                                Delta Bridge/Cloudfund
                                                1985 Henderson Road
                                                Colombus, OH 43220



                                                Fundworks
                                                5990 Sepulveda Blvd., Suite 310
                                                Van Nuys, CA 91411



                                                Global Funding Experts
                                                41-30 27th Street
                                                Queens, NY 11101



                                                Hopsteiner
                                                1 West Washington Avenue
                                                Yakima, WA 98903



                                                Internal Revenue Service
                                                Centralized Insolvency Office
                                                P.O. Box
                                                Philadelphia, PA 73301



                                                Landlord, Inc.
                                                1234 Main Street
                                                Leander, TX 78645



                                                LG Funding LLC
                                                1218 Union St.
                                                Brooklyn, NY 11225




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                                                LOP Restoration
                                                1008 Loop 332
                                                Liberty Hill, TX 78612



                                                LOP Restoration
                                                c/o Paul Davidson
                                                P.O. Box 47
                                                Liberty Hill, TX 78642



                                                Mission Valley Bank
                                                9116 Sunland Boulevard
                                                Sun Valley, CA 91352



                                                Modular AV
                                                3550 N. Lakeline Blvd., Ste. 170-1212
                                                Leander, TX 78641



                                                Ryan Anglen
                                                2508 Thunder Horse
                                                Leander, TX 78641



                                                Saxco International
                                                5260 Anna Ave
                                                San Diego, CA 92110



                                                SBA EIDL
                                                U.S. Small Business Administration
                                                P.O. Box 3918
                                                Portland, OR 97208



                                                Scott Herbowy
                                                2519 S Lakeline Blvd., Suite 100
                                                Cedar Park, TX 78613




                                                             Creditor Matrix            page 5 of 7
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                                                Texas Alcoholic Beverage Commission
                                                Licenses and Permits Division
                                                P.O. Box 13127
                                                Austin, TX 78711



                                                Texas Brand Ambassadors
                                                121 Snapper
                                                Austin, TX 78734



                                                Texas Comptroller of Public Accounts
                                                Revenue Accounting Division - Bankruptcy Section
                                                P.O. Box 13528 Capitol Station
                                                Austin, TX 78711



                                                Texas Workforce Commission
                                                TWC Building - Reg. Integrity Division
                                                101 East 15th Street
                                                Austin, TX 78778



                                                Third Coast Bank SSB
                                                1800 W Loop South, Suite 875
                                                Houston, TX 77027



                                                Toast Capital LLC
                                                WebBank, c/o Toast Capital
                                                401 Park Drive, Suite 801
                                                Boston, MA 02215



                                                Trey Elling
                                                1502 Merganser Ln
                                                Cedar Park, TX 78613



                                                Wells Fargo Bank, N.A.
                                                800 Walnut Street, F0005-044
                                                Des Moines, IA 50309




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                                                Williamson County
                                                c/o Julie Anne Parsons
                                                McCreary, Veselka, Bragg & Allen, P.C.
                                                P.O. Box 1269
                                                Round Rock, TX 78680-1269




                                                            Creditor Matrix              page 7 of 7
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